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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Greenbelt Division)

ALPHA PSI CHAPTER OF                                 )
THETA CHI FRATERNITY., et al.,                       )
                                                     )
        Plaintiffs,                                  )
                                                     )
                vs.                                  )   Case No. 8:24-cv-00753-DLB
                                                     )
JAMES BOND, et al.,                                  )
                                                     )
        Defendants.                                  )
                                                     )

           NOTICE OF WITHDRAWAL OF PLAINTIFFS’ MOTION
   FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Plaintiffs, by counsel, submit this notice to inform the Court that, following the filing of

Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction (the “Motion”)

(Dkt. 2), Defendants rescinded their system-wide restrictions imposed on all Interfraterninty

Council and Panhellenic Association organizations at the University of Maryland College Park

for which Plaintiffs sought preliminary injunctive relief. Plaintiffs therefore hereby withdraw

their Motion as moot, and respectfully submit that the hearing scheduled on the Motion may be

cancelled.

Dated: March 15, 2024                 Respectfully submitted,

/s/Alfred D. Carry                               /s/Micah E. Kamrass
Alfred D. Carry (#20711)                         Micah E. Kamrass (admitted pro hac vice)
McGlinchey Stafford PLLC                         Manley Burke LPA
1275 Pennsylvania Avenue NW, Suite 420           Cincinnati, OH 45202
Washington, DC 20004                             Tel: (513) 721-5525
Tel: (202) 802-9951                              mkamrass@manleyburke.com
Fax: (202) 318-1084                              Ohio Bar #0092756
acarry@mcglinchey.com

                                      Counsel for Plaintiffs



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                                     CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed in this case with the

clerk of the court and served on this 13th day of March, 2024 through the Court’s CM/ECF system,

which will send notification of this filing to all counsel of record.


                                               /s/Alfred D. Carry
                                               Alfred D. Carry
                                               Counsel for Plaintiffs




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